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EXHIBIT B
Case 3:09-cv-05191-CRB Document127-2 Filed 01/21/11 Page 2 of6

Brenner, Wendy

From: Tenhoff, Gregory

Sent: Monday, June 07, 2010 7:06 AM

To: Brenner, Wendy

Subject: Fw: proposed Order

Attachments: (79) 2nd Amended Proposed Order P's Mtn for Pl.pdf

Gregory C. Tenhoff

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From: Daniel F. Goldstein <dfg@browngold.com>

To: Tenhoff, Gregory

Cc: Larry Paradis (lparadis@dralegal.org) <Iparadis@dralegal.org>; Karla Gilbride <kgilbride@dralegal.org>; Mehgan
Sidhu <ms@browngold.com>; Anna Levine <alevine@dralegal.org>; slabarre@labarrelaw.com
<slabarre@labarrelaw.com>

Sent: Mon Jun 07 06:36:10 2010

Subject: proposed Order

Greg,

So that we can get an order to Judge Breyer as he requested, do you want to take a look at the last proposed order we

submitted and give me your thoughts?
Best,
Dan

Daniel F. Goldstein

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Case 3:09-cv-05191-CRB Document127-2 Filed 01/21/11 Page 3of6

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Attorneys for Plaintiff

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

STEPHANIE ENYART Case No. C 09-05191 CRB
Plaintiff,
SECOND AMENDED [PROPOSED]
V. ORDER GRANTING PLAINTIFF’S
MOTION FOR PRELIMINARY
INJUNCTION

NATIONAL CONFERENCE OF BAR
EXAMINERS, INC., Judge: Hon. Charles R. Breyer
Action Filed: November 3, 2009

Defendant.

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Upon consideration of Plaintiff's Motion for a Second Preliminary Injunction,
Defendant's opposition thereto, the accompanying memoranda, and the evidence

received in support and in opposition thereof, and for the reasons set forth by the Court

following the argument of counsel, itis this ss day of hereby
ordered that National Conference of Bar Examiners (NCBE) shall provide Ms. Enyart
with the following accommodations on the August 6, 2010 administration of the
Multistate Professional Responsibility Examination (MPRE) and the July 27 to August 1,
2010 administration of the Multistate Bar Examination (MBE) (collectively, “the
Examinations’):

(a) Double the standard time;

(b) A private room;

(c) One five minute break every hour;

(d) A scribe to fill in the answers;

(e) The Examinations loaded onto a laptop computer equipped with JAWS and
ZoomText Software, with the exam questions displayed in Ariel 14-point font.

Additionally, NCBE shall permit Ms. Enyart to use all of the following during the
Examinations as accommodations, all of which shall be brought to the Examinations by
Ms. Enyart:

(f) An ergonomic keyboard

(g) A trackball mouse

(h) A large monitor

(i) Her own lamp to control lighting conditions

(j) Sunglasses

(k) A yoga mat

(1) Large print digital clock

(m) Migraine medication

Enyart v. National Conference of Bar Examiners, Inc., Case No.: C 09-05191 CRB
SECOND AMENDED [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR PRELIMINARY

INJUNCTION
1

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The ergonomic keyboard, trackball mouse, and monitor shall be devoid of any
storage devices or storage mechanisms and NCBE does not guarantee the
interoperability of such devices with the computer it provides. The MPRE shall be
administered by ACT with the above accommodations pursuant to the Stipulation Re:
Voluntary Dismissal Without Prejudice of Defendant ACT, Inc. filed with the Court on
November 25, 2009. The MBE shall be administered by the State Bar of California with
the above accommodations pursuant to the Stipulation Regarding Dismissal Without
Prejudice of the State Bar of California filed with the Court on December 9, 2009.

NCBE shall cooperate with Plaintiff and the State Bar of California and ACT to
facilitate the set up of the equipment prior to the day of the testing.

Plaintiff shall post an additional bond in the amount of $5,000 to be filed with the
Clerk of the Court by , 2010, and deposited into the registry of

the Court.

The terms of this preliminary injunction shall also apply to any other
administrations of the MPRE and MBE that Plaintiff needs to take prior to trial in this
matter. For any such future examinations, Plaintiff as a condition of the preliminary
injunction shall post a further bond of $2,500 for each administration of the MPRE and
$2,500 for each administration of the MBE.

IT 1S SO ORDERED.

Dated , 2010

Charles R. Breyer
United States District Court Judge

Enyart v. National Conference of Bar Examiners, Inc., Case No.: C 09-05191 CRB
SECOND AMENDED [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR PRELIMINARY

INJUNCTION
2

